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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                       8:25CR(2b
       vs.
                                                                   INDICTMENT
                                                              42 U.S.C. § 408(a)(7)(B)
ROMEO EDILZAR YAXCAL-TIUL,
                                                               18 U.S.C. § 1546(b)(2)
a/kla ROMEO JUAREZ LOPEZ,
                                                                18 U.S.C. § 111(a)(1)
a/k/a REGINALDO CAAL-CHUB,

                      Defendant.


       The Grand Jury charges that

                                             COUNT

       On or about October 2, 2024, in the District of Nebraska, the defendant, ROMEO

EDILZAR YAXCAL-TIUL, a/k/a ROMEO JUAREZ LOPEZ a/k/a REGINALDO CAAL-

CHUB, with intent to deceive, falsely represented a number to be the Social Security account

number assigned by the Commissioner of Social Security to him, when in fact such number, ending

in XXX-XX-3218, is not the Social Security account number assigned by the commissioner of

Social Security to him, for purposes of obtaining any benefit to which he is not entitled and for

any other purpose, to wit: to satisfy a requirement of section 274A(b) of the Immigration and

Nationality Act.

       In violation of Title 42, United States Code, Section 408(a)(7)(B), and subject to sentencing

under Title 18.

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       On or about October 2, 2024, in the District of Nebraska, the defendant, ROMEO

EDILZAR YAXCAL-TIUL, a/k/a ROMEO JUAREZ LOPEZ a/k/a REGINALDO CAAL-

CHUB, for the purpose of satisfying a requirement of section 274A(b) of the Immigration and
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Nationality Act, used false identification documents, to wit: a Social Security card bearing

number XXX-XX-3218, and a United States Permanent Resident Card bearing number XXX-

XXX-888, knowing and having reason to know that the documents were false in that they were

not issued lawfully for the use of defendant, who possessed said documents.

       In violation of Title 18, United States Code, Section 1546(b)(2).

                                            COUNT III

       On or about June 1, 2025, in the District of Nebraska, the defendant, ROMEO EDILZAR

YAXCAL-TIUL, a/k/a ROMEO JUAREZ LOPEZ a/k/a REGINALDO CAAL-CHUB, did

voluntarily and intentionally forcibly resist, oppose, impede, and interfere with an officer and

employee of the United States, namely Agent 1, Homeland Security Investigations Special

Agent, while Agent 1 was engaged in the performance of his official duties.

       In violation of Title 18, United States Code, Section 111(a)(1).


                                                     A TRUE BILL.




                                                     R1J 1EPERSON



       The United States of America requests that trial of this case be held in Omaha, Nebraska,
pursuant to the rules of this Court.




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